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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION
__________________________________________
                                           )
HONORABLE WENDELL GRIFFEN,                 )
                                           )
            Plaintiff,                    )
                                          )
         v.                               )    No. 4:17-cv-639-JM
                                          )    Hon. James M. Moody, Jr.
ARKANSAS SUPREME COURT, et al.,           )
                                          )
            Defendants.                   )
__________________________________________)




                   REPLY BRIEF IN SUPPORT OF DEFENDANTS’
                     MOTIONS TO DISMISS THE COMPLAINT




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                                        INTRODUCTION

       Judge Griffen’s response to Defendants’ motions to dismiss only further confirms that the

complaint must be dismissed for failure to state a claim. Judge Griffen fails to come to grips with

the interests of the litigants who come before him, focusing instead solely on his own desire to

preside over their cases.

       Imagine a case in which a judge authors an impassioned essay decrying legal challenges to

the death penalty, insisting that the death penalty is morally required for all murderers because

God’s law demands that “life shall go for life,” and the governing authority, as “the minister of

God, a revenger to execute wrath upon him that doeth evil,” is compelled to carry out the

punishment. The judge therefore concludes that abolishing the death penalty would leave an

indelible moral stain on the community until the end of time. Then, in a case pending before him,

the judge summarily denies an emergency motion seeking to halt an execution and, immediately

after issuing the order, plays a prominent part in a pro-capital punishment rally outside the offices

of the legal defense organization responsible for the lawsuit. What is more, in a different case in

which he is required by a higher court to halt an execution, the judge issues a strident opinion

decrying that “damnable” fact. It is difficult to imagine anyone arguing that the judge nonetheless

could continue sitting on death penalty cases, much less that he would have a constitutional right

to do so. Yet that essentially is what Judge Griffen argues here, for this is that hypothetical case in

reverse.

       The relevant facts are undisputed. In April 2017, Judge Griffen publicly decried Arkansas’

planned executions of several death row inmates, branding these executions as “murderous acts”

and “a series of homicides.” His statements were not limited to the particularities of these cases,

but rather extended to a broad and impassioned condemnation of capital punishment altogether.




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Four days later, he attended a rally protesting these executions. That same day, he entered an ex

parte temporary restraining order effectively enjoining those executions. And then, immediately

after entering the order, he participated in a protest outside the Governor’s Mansion—one of the

defendants in the pending case—to protest the very executions he had just effectively enjoined.

Judge Griffen was not a passive participant in the protest but a centerpiece: he strapped himself to

a cot as a condemned man for 90 minutes, surrounded by protesters and signs calling for an end to

the very executions he himself had just enjoined.

        Based on this extraordinary public display of partiality, the Supreme Court of Arkansas

ordered Judge Griffen recused from capital punishment cases. Judge Griffen now raises a battery

of theories about why he may not be recused despite his extraordinary conduct. None of these

theories state a claim for relief. Judge Griffen effectively admits, as he must, that the First

Amendment does not prohibit States from recusing judges whose speech indicates actual or

apparent bias. This indisputable legal premise dooms Judge Griffen’s retaliation claim, because

the alleged retaliatory act—the recusal order—does not offend the First Amendment. Judge

Griffen’s complaint does not come close to plausibly alleging that the recusal order was motivated

by his religious beliefs or his race, as opposed to his protests of the litigants and executions at issue

in a case pending before him. He has failed to allege a liberty interest protected by the Due Process

Clause, and in any event, he has an opportunity to contest the alleged stigma against him.

        A judge, of course, need not shed his moral conscience upon assuming office. But that does

not entitle a judge to hear cases in which his moral views are so strongly held and so insistently

proclaimed that they call into question the judge’s impartiality. For these reasons and others set

forth more fully below, this Court should dismiss the complaint in its entirety.




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                                            ARGUMENT

I.      Judge Griffen Has Not Plausibly Alleged a Violation of His First Amendment
        Speech Rights.

        Judge Griffen argues that he has stated a First Amendment retaliation claim because he

plausibly alleged that he suffered an adverse action that was causally related to protected conduct.

This argument fails on its own terms. But it also fails for the more fundamental reason that the

alleged “retaliation”—an order recusing a judge whose speech creates an appearance of bias—

does not violate the First Amendment.

        A.       The First Amendment Does Not Permit Judges to Preside Over Cases
                 Where They Have Actual or Apparent Bias.

        Judge Griffen alleges that he suffered unlawful retaliation for the exercise of his First

Amendment rights when the Supreme Court of Arkansas disqualified him from hearing capital

punishment cases because of his speech. But the First Amendment does not prohibit States from

disqualifying judges whose speech indicates actual or apparent bias in a case. Indeed, Judge

Griffen does not appear to dispute this point. That is the end of his retaliation claim. The First

Amendment does not apply—or, to choose Judge Griffen’s preferred framework, he has not

engaged in protected conduct—because the First Amendment does not protect judges from

disqualification when their speech creates an appearance of bias.

        1.       This much is undisputed: The First Amendment does not prohibit States from

disqualifying a judge when the judge’s prior speech indicates actual or apparent bias. In fact, Judge

Griffen affirmatively concedes that he “does not contend that any recusal rule violates his First

Amendment rights.” Plaintiff Hon. Wendell Griffen’s Consolidated Opposition to Defendants’

Motions to Dismiss at 16 (Jan. 16, 2018), Doc. 37 (“Response”). He must concede this point,

because the law is settled that a “recusal clause does not present a constitutional issue at all.” Bauer




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v. Shepard, 620 F.3d 704, 718 (7th Cir. 2010); see also Nevada Comm’n on Ethics v. Carrigan,

564 U.S. 117, 124 (2011) (“[T]here do not appear to have been any serious challenges to judicial

recusal statutes as having unconstitutionally restricted judges’ First Amendment rights.”); Ligon

v. City of New York, 736 F.3d 166, 169 n.8 (2d Cir. 2013).

       Arkansas’ recusal rules require disqualification where, inter alia, a “judge’s impartiality

might reasonably be questioned,” including where the judge makes an out-of-court statement that

“commits or appears to commit the judge to reach a particular result” in a case. ARK. CODE OF

JUDICIAL CONDUCT, R. 2.11(A)(5). Judge Griffen alleges (implausibly) that he can decide death

penalty cases without bias. But he does not allege at all that his conduct did not, at a minimum,

create the appearance of bias. Defendants have emphasized this point, Brief in Support of the Hon.

Courtney Hudson Goodson’s Motion to Dismiss at 20, 22 (Dec. 19, 2017), Doc. 27 (“Goodson

Motion”), and Judge Griffen has not disputed it.

       In any event, Judge Griffen could not plausibly allege that his conduct did not create an

appearance of bias. Indeed, if Judge Griffen’s actions do not create at least an appearance of bias,

it is difficult to imagine what would. The very same week that Judge Griffen enjoined several

executions, he publicly declared on his blog that those planned executions were “murderous acts”

and “homicide.” He described those executions as “atrocities” that would cause “people around

the world to associate Arkansas with bigotry, hate, and other forms of injustice as long as human

memory continues.” The very same day he enjoined those executions, he attended not one but two

anti-death-penalty rallies. One of the rallies occurred immediately after he entered the injunction,

and it occurred outside the residence of the Governor, one of the defendants Judge Griffen had just

enjoined. At that rally, Judge Griffen strapped himself to a cot as a condemned man for 90 minutes




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while he was surrounded by signs protesting the same executions he had just enjoined. These

actions would undoubtedly cause a reasonable person to doubt Judge Griffen’s impartiality. 1

       Judge Griffen’s principal response is that he is not actually biased because, after the

Supreme Court of Arkansas reversed his grant of summary judgment to the plaintiffs in the

Johnson method-of-execution litigation, he then dismissed the second amended complaint.

Response at 13. That order, which was accompanied by a lengthy coda lamenting the “damnable

unfairness” of capital punishment, was compelled by the Supreme Court of Arkansas’ decision in

Kelley v. Johnson, 496 S.W.3d 346 (Ark. 2016). 2 That decision could not plausibly negate the

powerful inference of bias created by Judge Griffen’s later conduct, particularly in cases where the

outcome is not so clearly compelled by binding precedent. More importantly, Judge Griffen’s

argument sidesteps the fact that his actions created an appearance of bias that his ruling in the

Johnson case could not plausibly negate. See Arkansas Supreme Court et al. Motion to Dismiss at

16 (Dec. 19, 2017), Doc. 23 (“Ark. Supreme Court Motion”) (discussing same argument in

Caperton v. A.T. Massey Coal Co., Inc., 556 U.S. 868 (2009)). A judge need not be willing to

blatantly defy binding precedent to have his impartiality reasonably questioned.

       The retaliation claim thus fails because (1) Judge Griffen does not dispute that the First

Amendment permits States to disqualify judges whose speech indicates actual or apparent bias,

and (2) Judge Griffen’s conduct created, at a minimum, the appearance of bias. The alleged



       1
         Although Judge Griffen claims Defendants have in some respects relied on facts outside
“the four corners of the complaint,” Response at 3, 11, 14, he correctly does not argue that the
content of his blog posts or the substance of his protests are beyond the four corners of the
complaint. Those issues are discussed in the complaint, e.g., Compl. ¶¶ 16, 18 (Oct. 5, 2017), Doc.
1, and they are proper subjects of judicial notice too. See Goodson Motion at 5 n.2.
       2
         See Goodson Motion, Exhibit C at 7 (Judge Griffen’s order stating that “[t]he Second
Amended Complaint must be dismissed because it is barred by the [Supreme Court’s] decision
that dismissed its predecessor”).


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“retaliation” is perfectly lawful. Indeed, Judge Griffen gives away the ballgame when he concedes

that Defendants would have a “better argument if Judge Griffen committed to rule a certain way

in capital cases . . .” Response at 13. The recusal rules demand disqualification not only when a

judge’s speech “commits” the judge to rule a certain way, but also when that speech “appears to

commit the judge to reach a particular result.” ARK. CODE OF JUDICIAL CONDUCT, R. 2.11(A)(5)

(emphasis added). And Judge Griffen’s speech certainly does that. Indeed, it is entirely reasonable

to conclude that a judge who has called the death penalty a morally unjustifiable atrocity will do

whatever he can to avoid facilitating executions. This case is thus precisely the case that Judge

Griffen essentially concedes he cannot win.

       Because the alleged retaliatory act—Judge Griffen’s disqualification—is perfectly

consistent with the First Amendment (and likely required by the Fifth Amendment), the

disqualification order cannot serve as the basis for a retaliation claim. This would be a different

case if Judge Griffen had alleged that some other speech was the basis for his claim—for example,

if he had alleged that the Supreme Court of Arkansas actually disqualified him because he

published a letter calling for citizens to vote the justices of that court out of their offices. Cf.

Pickering v. Board of Education, 391 U.S. 563, 566 (1968). In that case, he would have alleged

that he was retaliated against for exercising speech that was not proscribable. Cf. O’Brien v. Welty,

818 F.3d 920, 932–35 (9th Cir. 2016) (holding that although the plaintiff had no First Amendment

right to harass school administrators, he adequately alleged a retaliation claim because he alleged

he was in fact punished not for the harassing speech but for earlier protected speech).

       But when a judge stands on the lawn of a defendant in a case before him and denounces

the defendant for the very conduct at issue in the litigation, the judge is not “retaliated” against

when he is disqualified from that case and other cases involving the same conduct. And if the First




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Amendment does not protect the judge from disqualification, the judge cannot prevail simply by

repackaging his claim as a “retaliation” claim.

       This is the flaw with Judge Griffen’s effort to distinguish cases like Carrigan and Bauer

on the ground that they involved facial or as-applied challenges to recusal statutes rather than

retaliation claims. Response at 15–16 & nn.4–5. Those cases are relevant because they establish

that the alleged “retaliation” here is perfectly lawful: The First Amendment permits (and the Due

Process Clause often requires) the supposedly “retaliatory” removal of judges from cases where

they have actual or apparent bias. The First Amendment analysis does not change depending on

whether a litigant argues that his disqualification was in retaliation for protected speech (a

retaliation claim) instead of arguing that applying the recusal rule to him violates his First

Amendment claim (an as-applied challenge to the rule). For example, the challenge in Carrigan

could just as easily have been recast as allegedly unlawful “retaliation” against a legislator for

exercising his First Amendment right to freedom of association with his campaign manager. See

Carrigan, 564 U.S. at 120. Similarly, if Williams-Yulee v. Florida Bar had involved a sitting judge,

the challenge there could have been recharacterized as unlawful “retaliation” against the judge for

exercising his First Amendment right to free speech. See 135 S. Ct. 1656, 1667 (2015). 3 But the

outcome of those cases would have been the same.

       2.      Finally, Judge Griffen does not rebut Defendants’ argument that the First

Amendment does not protect him from disqualification because Arkansas may exercise the

sovereign choice to assign cases only to Judges whose speech does not indicate actual or apparent



       3
         Williams-Yulee denominated as furthering a “vital state interest . . . of the highest order”
certain ethical rules that charge judges “with exercising strict neutrality and independence,”
requirements often not imposed on other elected officeholders. 135 S. Ct. at 1666. The Court
further reiterated that “ ‘justice must satisfy the appearance of justice.’ ” Id. (quoting Offutt v.
United States, 348 U.S. 11, 14 (1954)).


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bias. As Defendants have emphasized (e.g., Goodson Motion at 14–18), Gregory v. Ashcroft, 501

U.S. 452, 463 (1991) holds that States have the authority “to determine the qualifications of their

most important government officials.” Thus, as the Seventh Circuit has already held, recusal rules

do not implicate the First Amendment because that Amendment does not interfere with a State’s

ability to “control how its employees perform their work” or “to assign to each lawsuit a judge

who has not made any statement that commits or appears to commit the judge to reach a particular

result or rule in a particular way in the proceeding or controversy.” Bauer, 620 F.3d at 718

(quotation marks omitted). The Second Circuit has likewise held that “[t]he freedom of speech

protected by the First Amendment does not mean that there can be no limitations, such as those

contemplated under [the federal judicial recusal statute], on what a federal judge may say, much

less on where she can say it, especially as it relates to pending litigation.” Ligon, 736 F.3d at 169

n.8.

       Similarly, Garcetti v. Ceballos, 547 U.S. 410, 418 (2006), holds that Pickering does not

protect an employee from alleged retaliation when the supposed adverse action occurs when a

public employee “speaks pursuant to his job duties.” Lindsey v. City of Orrick, 491 F.3d 892, 898

(8th Cir. 2007). First Amendment protections of government employees vary for that reason when

the employee serves in a “confidential, policymaking, or public contact role,” Rankin v.

McPherson, 483 U.S. 378, 390–91 (1987), because even their private conversations implicate the

government’s public position and the discharge of the employee’s job. The “burden of caution

employees bear with respect to the words they speak will vary with the extent of authority and

public accountability the employee’s role entails.” Id. at 390. When the employee is a judge, his

duties include the obligation to “avoid both impropriety and the appearance of impropriety in their

professional and personal lives.” ARK. CODE OF JUDICIAL CONDUCT, Preamble (emphasis added).




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Indeed, this is not simply a matter of Arkansas’ sovereign choice—recusal in case of actual or

apparent bias is often required by the Due Process Clause. See, e.g., Caperton, 556 U.S. at 881,

889.

       The closest Judge Griffen comes to responding to this point is his argument that “discovery

is needed to determine the proper scope of Judge Griffen’s job responsibilities.” Response at 14.

He never identifies what discovery could possibly be relevant. The Arkansas statutes and Code of

Judicial Conduct are crystal clear that judges may not preside over cases where their speech

indicates actual or apparent bias. Discovery is not necessary to establish that point.

       B.      Even if the Retaliation Framework Applies, Judge Griffen Has Failed to
               State a Claim.

       Even if this Court accepts Judge Griffen’s invitation to proceed directly to the retaliation

framework, the complaint still fails to state a claim.

       1.      First, for substantially the same reasons already discussed, Judge Griffen has not

alleged that he engaged in protected conduct. The only speech at issue here is Judge Griffen’s

speech giving rise to an appearance of partiality. The First Amendment does not protect Judge

Griffen’s right to preside as a judge in a case in which his impartiality may reasonably be

questioned.

       Judge Griffen believes that he has alleged that he engaged in protected conduct for the

simple reason that capital punishment is a matter of public concern. Response at 11–12. No one

disputes that capital punishment is in fact a matter of public concern. The outcome of pending

legal decisions is also a matter of public concern, but that does not mean that judges may opine,

supposedly as “public citizens,” on the cases before them, and still expect to preside over those

cases. Judge Griffen’s decision to prostrate himself on a cot as a condemned man in protest of the




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executions he had just enjoined did address a matter of public concern, but that does not spare him

from the reach of Arkansas’ recusal rules.

       Judge Griffen also relies on a series of cases stating that judges may announce their views

on legal and political subjects. See Response at 12–13. The precise import of these cases is unclear

because Judge Griffen does not dispute that judges may be disqualified when their speech gives

rise to the appearance of bias. His cases are consistent with this rule, and many of them expressly

endorse it. For example, Bauer v. Shepard, 620 F.3d 704 (7th Cir. 2010), upheld Indiana’s

prohibition against judges making promises or pledges that are “inconsistent with the impartial

performance of the adjudicative duties of judicial office,” id. at 714, and it further held that

requiring recusal based on apparent impartiality “does not present a constitutional issue at all,” id.

at 718. Other than dismissing Bauer’s recusal-clause analysis as not involving a retaliation claim,

Judge Griffen never addresses its holding that recusal rules do not violate the First Amendment.

       Judge Griffen also relies upon Mississippi Comm’n on Judicial Performance v. Wilkerson,

876 So.2d 1006 (Miss. 2004), which held that a judge could not be sanctioned based on his out-

of-court statements on gay rights. But there, the Court emphasized that although the judge could

not be sanctioned, recusal in future cases might be required. The court explained that the judge

“will doubtless face a recusal motion from every gay and lesbian citizen who visits his court,” and

that the judge has “created a paradox for himself” by “publicly announcing views which—although

constitutionally allowed—nevertheless cast doubt on his impartiality.” Id. at 1015–16. The court

stated that it would “express no opinion here as to the outcome of such complaints, as the issue is

not before us today.” Id. at 1016. See also id. (agreeing that “the objects of judicial prejudice are

entitled to seek a level playing field through recusal motions”).




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        Finally, Judge Griffen relies on Matter of Disciplinary Proceeding Against Sanders, 955

P.2d 369, 376 (Wash. 1998), which also invalidated a misconduct sanction rather than a recusal

order. The court invalidated the sanction only because the record did not permit the court “to

construe Justice Sanders’ conduct as . . . an indication that he would be unwilling or unable to be

impartial and follow the law if faced with a case in which abortion issues were presented.” Id. at

376. The Court thus recognized that if the judge’s speech had created an appearance of partiality,

the First Amendment would not protect the judge from sanction. Judge Griffen suggests that his

decision to protest outside the Governor’s mansion is akin to Sanders’ decision to briefly address

a crowd outside a legislative building before departing the rally. Response at 14; see Sanders, 955

P.2d at 376. But the facts of the two cases are very different, not least of all because when Sanders

addressed the crowd, he was not presiding over an abortion case, much less one where the

legislature was a party.

        2.      Judge Griffen has also failed to plausibly allege that he suffered an adverse action.

Judge Griffen claims that he suffered an adverse action because he suffered “permanent

disqualification from all death penalty cases,” Response at 18, as well as “a permanent garnishment

of [his] judicial authority,” id. at 20. But as Defendants have explained, see Goodson Motion at

14–18, Judge Griffen has no personal or constitutional right to decide death penalty cases or any

other category of cases. See, e.g., Carrigan, 564 U.S. at 126–27; Bauer, 620 F.3d at 718; Ligon,

736 F.3d at 171. Moreover, Judge Griffen never had the right to preside over cases where his

speech indicates actual or apparent bias. Although Judge Griffen claims the right to “make case-

by-case determinations relating to his ability to preside over a case with impartiality,” Response

at 20, he cites nothing at all suggesting that he has this authority, much less a personal or

constitutional right to this authority.




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       Judge Griffen largely ignores this point. He seeks to distinguish Carrigan and Bauer on

the ground that they involved First Amendment challenges to recusal rules rather than retaliation

claims. Response at 15–16. But as discussed supra, this is a distinction without a difference. Judge

Griffen seeks to distinguish Ligon on the ground that the Second Circuit held that the judge lacked

a personal right to decide one particular case, whereas here he has been disqualified from all capital

punishment cases. Response at 22. But if Judge Griffen does not have a legal interest in deciding

any particular case, it is hard to see how he gains a legal interest in the aggregation of several such

cases. Moreover, as Defendants have also explained (without response from Judge Griffen), many

recusal orders are effectively blanket recusal orders from an entire category of cases. Goodson

Motion at 5, 20–21. 4

       3.      Finally, Judge Griffen argues that he has plausibly alleged causation because

nobody disputes that Defendants disqualified him from capital punishment cases because of his

speech. Response at 23. Judge Griffen’s argument is significant in two respects. First, the argument

essentially acknowledges that the relevant facts are undisputed. This argument undermines Judge

Griffen’s suggestion elsewhere that some unspecified discovery is needed to resolve some

unspecified factual disputes. E.g., Response at 3, 14, 26. Second, and more importantly, Judge



       4
         Judge Griffen also erroneously relies upon Tabaddor v. Holder, 156 F. Supp. 3d 1076
(C.D. Cal. 2015). The plaintiff was an immigration judge for the Executive Office for Immigration
Review within the U.S. Department of Justice, who was recused from certain cases because of her
attendance at a government-sponsored event held at the White House Office of Public Engagement
that her supervisors preapproved. The recusal order was treated as an employment action that
survived a motion to dismiss only because it was litigated against the background of rules
governing civil service employees that have no application to judges in a state court system.
Tabaddor did not address the argument, presented squarely here, that the judge’s speech was not
protected by the First Amendment. The court also dismissed the unsupported allegation of
religious discrimination in that case, id. at 1090, as this Court should. Finally, Judge Griffen’s
allegation in his response brief that he has been subjected to a different “recusal standard entirely
divorced from the standard applied to his peers,” Response at 20, is belied by the fact that he cannot
plausibly allege that his extraordinary conduct falls outside the scope of Arkansas’ recusal rules.


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Griffen’s argument that he was disqualified because of his biased speech proves too much. His

argument, if accepted, suggests that the State always engages in unlawful retaliation when it

disqualifies judges from cases based on speech that indicates actual or apparent bias. This has

never been the law. In fact, the Due Process Clause demands that it cannot be the law, because its

application here is “to protect the parties’ basic right to a fair trial in a fair tribunal.” Caperton,

556 U.S. at 887. See also Republican Party of Minnesota v. White, 536 U.S. 765, 794 (2002)

(recognizing that rigorous recusal standards can prevent harms that flow from unfettered exercises

of judicial speech).

       4.      Even if Judge Griffen has adequately pled that he engaged in public speech and that

his speech was a motivating factor for an adverse action taken against him, he must still survive

the Pickering balancing test and demonstrate that his “interest as a citizen in commenting on the

issue outweighs the public employer’s interest in promoting efficient public service.” Howard v.

Columbia Pub. Sch. Dist., 363 F.3d 797, 801 (8th Cir. 2004). Judge Griffen’s complaint does not

even invoke the Pickering test, much less allege that the balancing weighs in his favor. See Compl.

¶¶ 48–56. This balancing test presents “a question of law,” even if “its underlying factual questions

should be . . . submitted to the jury.” Bailey v. Department of Elementary & Secondary Educ., 451

F.3d 514, 518 n.2 (8th Cir. 2006). Judge Griffen argues that discovery is needed to complete the

Pickering inquiry, Response at 17, but he never specifies what that discovery would be. The

relevant facts are undisputed—Judge Griffen was disqualified because of his extraordinary display

of impartiality and his violation of Arkansas’ recusal rules—and the ultimate balancing is a

question of law. Even if the Court were to conclude that it must engage in Pickering balancing,

that inquiry resolves in favor of Defendants even at this stage of the case. The employer’s interest

in promoting a judiciary that is fair and creates an appearance of fairness is an interest of the




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highest order, and it easily outweighs a judge’s interests in expressing his biases and protesting the

litigants who appear before him. What the Supreme Court has said of clerical employees applies

with even greater force to judges: these employees are not “insulated from discharge where their

speech, taking the acknowledged factors into account, truly injures the public interest in the

effective functioning of the public employer.” Rankin, 483 U.S. at 391 n.18. 5

II.     Judge Griffen Has Not Plausibly Alleged a Violation of His Free Exercise Rights.

        Judge Griffen effectively abandons his free-exercise retaliation claim, as distinct from his

free-speech retaliation claim. Defendants explained that the Free Exercise Clause does not afford

Judge Griffen an exemption from Arkansas’ neutral, generally-applicable recusal laws, and that

Judge Griffen cannot plausibly allege that Defendants ordered his disqualification to suppress

Judge Griffen’s religious beliefs. See Goodson Motion at 21–25; Ark. Supreme Court Motion at

18–19. Judge Griffen does not address these arguments. Instead, he simply re-asserts his

implausible allegation that he was retaliated against for exercising his religious beliefs. Response

at 12, 17.

        Defendants do not dispute that Judge Griffen was practicing his religion when he protested

capital punishment and decried as “atrocities” the executions at issue in litigation before him. But

the Free Exercise Clause does not entitle Judge Griffen to an exemption from Arkansas’ neutral

and generally applicable recusal rules. A judge must be recused from a case whenever the judge’s

actions indicate actual or apparent bias, regardless of whether the speech that creates the



        5
          Judge Griffen suggests that States do not have a compelling state interest “in guarding
against the appearance of impropriety.” Response at 16 n.6. But the Eighth Circuit has already
held that States have a compelling interest in preserving both “the lack of bias for or against a party
to a proceeding” and “the appearance of impartiality.” Wersal v. Sexton, 674 F.3d 1010, 1020,
1023–24 (8th Cir. 2012). The Supreme Court’s decision in White, upon which Judge Griffen relies,
said only that States do not have a compelling interest in ensuring a “lack of preconception in favor
of or against a particular legal view.” 536 U.S. at 777.


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appearance of bias was motivated by the judge’s religious beliefs. And Judge Griffen offers

nothing to support his bald allegation that Defendants intended to punish him for the exercise of

his religion. Compl. ¶ 65. There is simply nothing in the complaint that would support an inference

that the Justices of the Supreme Court of Arkansas disqualified him from capital punishment cases

to punish him for exercising his religion rather than to guarantee litigants a fair tribunal.

III.   Judge Griffen Has Not Plausibly Alleged a Violation of His Due Process Rights.

       Judge Griffen argues that the Due Process Clause guarantees judges the right to litigate and

contest recusal orders, but he fails to cite a single case holding as much. Response at 27–32. The

Second Circuit recently also stated that it “know[s] of no precedent suggesting that a district judge

has standing before an appellate court to protest reassignment of a case.” Ligon, 736 F.3d at 170.

Judge Griffen’s Due Process claim fails at the threshold.

       1.      Judge Griffen’s complaint alleges interests in “his ability to discharge those aspects

of his position that are set forth in the Arkansas Constitution and that voters elected him to

discharge,” and in “his reputation and his good name as it relates to his duties as an elected circuit

court judge.” Compl. ¶¶ 81–82. His response brief fails to rebut Defendants’ argument that he has

not adequately pleaded a liberty or property interest recognized by the Due Process Clause.

       First, Judge Griffen has no property or liberty interest in deciding any particular case. See

Goodson Motion at 26–28; Ark. Supreme Court Motion at 15–16. Judge Griffen claims that this

argument assumes that his speech “renders him biased—which is perhaps the most disputed fact

question in this case.” Response at 30. But Judge Griffen does not dispute that his speech creates

the appearance of bias, and judges do not have a right to decide cases where they have actual bias

or apparent bias. In any event, Defendants’ argument does not depend on proving bias or the

appearance thereof. The point is that “reassignment is not a legal injury to the [trial] judge” because




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that “judge has no legal interest in a case or its outcome, and, consequently, suffers no legal injury

by reassignment.” Ligon, 736 F.3d at 171. And without an independent injury to a protected liberty

or property right, it simply does not matter whether or to what extent the recusal order harmed

Judge Griffen’s reputation, for “injury to reputation by itself [is] not a ‘liberty’ interest protected

under the Fourteenth Amendment.” Siegert v. Gilley, 500 U.S. 226, 233 (1991). That is because

for a reputational injury to implicate the Due Process Clause and be actionable, it must be

accompanied by “a right or status previously recognized by state law [being] distinctly altered or

extinguished.” Paul v. Davis, 424 U.S. 693, 711 (1976). Because Judge Griffen has no previously

recognized right to sit on any particular case, the Due Process Clause is not implicated. See Ark.

Supreme Court Motion at 16; Goodson Motion at 26–28.

       Judge Griffen also suggests that this case does not involve mere “recusal” but rather “a

permanent bar on adjudicating an entire class of highly significant cases.” Response at 29. But if

Judge Griffen lacks an interest in deciding any one case, it is hard to see why he has an interest in

deciding an aggregation of those cases. The appearance of bias at issue is to a category of cases,

not to a particular litigant. Simply put, judges do not have a due process right to decide the cases

before them. To the extent the Due Process Clause is relevant at all, it can sometimes prohibit

judges from presiding over cases where they have actual or apparent bias.

       Second, even if Judge Griffen’s liberty or property rights have otherwise been affected by

the recusal order, he has not plausibly alleged that the recusal order is “so damaging as to make it

difficult or impossible for the employee to escape the stigma of those charges.” Winegar v. Des

Moines Indep. Cmty. Sch. Dist., 20 F.3d 895, 899 (8th Cir. 1994). “The requisite stigma has

generally been found when an employer has accused an employee of dishonesty, immorality,

criminality, racism, and the like.” Id. In Caperton, the Supreme Court did “not question [the subject




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judge’s own] subjective findings of impartiality and propriety,” and did not find the existence of

any actual bias. 556 U.S. at 882. Instead, the Court was concerned with the overriding necessity

of safeguarding the public’s confidence that judicial decisions were based on the merits presented

and not any possible prejudgment. Id. at 889. Therefore, an order of recusal did not impugn the

judge’s reputation, but assured that the justice system worked as it should for the litigants. Judge

Griffen has not, and could not, allege the existence of a stigma flowing from the recusal order.

       2.      In any event, Judge Griffen was given all the process that was due. Judge Griffen

was notified that the defendants in the McKesson case had sought his recusal. The Supreme Court

of Arkansas even extended the filing deadlines in the case so that Judge Griffen could file a

response. See Goodson Motion, Exhibit L at 8 (Dec. 12, 2017), Doc. 27-12. Judge Griffen claims

that he alleges in the complaint that he “did not” “receive[ ] a copy of the Attorney General’s

petition prior to the entry of the Disqualification Order.” Response at 31. To the contrary, the

complaint admits that Judge Griffen “received service of a copy of the Attorney General’s writ

application seeking his disqualification from the McKesson I case . . . .” Compl. ¶ 84. 6 Although

Judge Griffen does allege that he was not on notice that the Supreme Court of Arkansas might

recuse him from cases other than McKesson, id., the basis for his recusal from all capital

punishment cases was precisely the same basis as his recusal from the McKesson case.

       In any event, the Due Process Clause is not violated where the government employee has

been afforded process in the form of a name-clearing hearing. See, e.g., Crews v. Monarch Fire




       6
        Because the complaint admits that Judge Griffen was on notice of the recusal petition, the
Court need not rely on the email communications attached to the motions to dismiss that prove
Judge Griffen had notice of those requests. The Court thus need not reach Judge Griffen’s
argument that it may not consider these materials at the motion-to-dismiss stage. Response at 32.
Of course, the Court would be entitled to take notice of these documents, which are fairly
incorporated into the complaint. See Goodson Motion at 5 n.2.


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Prot. Dist., 771 F.3d 1085, 1092 (8th Cir. 2014); Brown v. Simmons, 478 F.3d 922, 923 (8th Cir.

2007). Even assuming he was sufficiently “stigmatized” to implicate due process, Judge Griffen

has not disputed that he has an opportunity to clear his name during ongoing proceedings before

the Judicial Discipline and Disability Commission.

       3.      Judge Griffen does not dispute that his due process argument would cause a sea

change in the recusal laws. If his legal argument were correct, trial judges would have an absolute

right to litigate recusal issues against the parties before them. This would turn recusal law on its

head, for today a trial judge’s uninvited response to a mandamus petition “in itself may sometimes

be a factor that contributes to a conclusion that the trial-court judge’s impartiality could reasonably

be questioned.” 16AA CHARLES ALAN WRIGHT & ARTHUR R. MILLER, FEDERAL PRACTICE &

PROCEDURE § 3967.1. This Court should not discover a novel due process right for judges to

litigate recusal orders. Doing so would burden the judicial system with internal disputes that will

delay and undermine its ability to dispense justice to those who come before it.

IV.    Judge Griffen Has Not Plausibly Alleged a Violation of His Equal Protection Rights.

       Judge Griffen has also failed to rebut Defendants’ argument that he failed to state a claim

for a violation of the Equal Protection Clause.

       First, Judge Griffen misapprehends the issue when he suggests that he was “qualified for

the job in question.” Response at 33. Arkansas law prohibits judges from presiding over cases

where they are “disqualified under the Arkansas Code of Judicial Conduct.” ARK. CODE ANN.

§ 16-13-214. The Code of Judicial Conduct prohibits service by judges with actual or apparent

bias. E.g., ARK. CODE OF JUDICIAL CONDUCT R. 2.11(A)(5). Judge Griffen has failed to plausibly

allege that his conduct falls outside the ambit of Arkansas’ recusal rules. Accordingly, he is not

qualified to preside over cases involving capital punishment.




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       Second, Judge Griffen has failed to establish that he was treated differently from similarly

situated white judges, or that any differential treatment raises an inference of racial discrimination.

Defendants emphasize, in the strongest possible terms, that Judge Griffen’s wholly unsupported

allegations of racial discrimination are thoroughly baseless and are simply bald legal conclusions

entitled to no weight. The complaint does not come close to plausibly alleging that Defendants

disqualified Judge Griffen for any reason other than his extraordinary conduct that gave rise to an

unmistakable appearance of bias.

       Judge Griffen has not identified any similarly situated white judges who were treated

differently than he. 7 Indeed, Judge Griffen has not identified any judge of any race who has

engaged in behavior even remotely close to the behavior at issue here. Although Judge Griffen’s

response brief cites the four comparators identified in his complaint, see Response at 34, he does

not rebut Defendants’ argument that these comparators were not similarly situated to him,

Goodson Motion at 32–33. None of those comparators involved individuals for whom recusal was

warranted because their speech indicated actual or apparent bias. Moreover, three of the

comparators received harsher treatment than Judge Griffen because they left the bench entirely. It

is hard to see how the harsher treatment of these white judges—their total removal from the

bench—shows discrimination against Judge Griffen.

       With respect to former judges Joseph Boeckmann Jr. and Timothy Parker, both were

“permitted . . . to resign,” Response at 34, after they left the bench amidst allegations of



       7
         Judge Griffen claims that “Defendants acknowledge . . . that Judge Griffen has identified
other similarly situated judges, who are white, and who have been treated differently from Judge
Griffen.” Response at 35. To the contrary, Defendants have argued that Judge Griffen’s
comparators “cannot be said to be similarly situated to Judge Griffen.” Ark. Supreme Court Motion
at 23. See also Goodson Motion at 31–32. Indeed, Judge Griffen’s own complaint emphasizes that
he “did not engage in conduct that was remotely similar to that allegedly committed by” the other
judges. Compl. ¶ 115; see also id. ¶¶ 108, 112, 129.


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impropriety, Compl. ¶¶ 114, 118, so there was no need for the Supreme Court of Arkansas to

disqualify them from cases. With respect to former Judge Michael Maggio, the Supreme Court of

Arkansas did “remove[ ] [Judge Michael Maggio] from the bench.” Compl. ¶ 111. Moreover, it

did so based in part on his comments in an online forum, which means that Maggio received much

harsher punishment for what was in part a speech-related offense. See Max Brantley, Supreme

Court orders immediate removal of Judge Maggio from bench, ARK. TIMES (Sept. 11, 2014),

https://goo.gl/cZ6H3F.

       Finally, Judge Griffen alleges that Judge William Pearson pled guilty to driving while

intoxicated and reckless driving, and that he was suspended from presiding over driving-while-

intoxicated cases for several months. Response at 34; Compl. ¶¶ 106–07. Judge Pearson is not

similarly situated to Judge Griffen because his case involves a criminal conviction, not speech that

gives rise to an appearance of bias. Judge Griffen engaged in speech that creates a patent

appearance of partiality in capital punishment cases. By contrast, although Judge Pearson’s

criminal conviction was worthy of sanction, that conviction standing alone does not indicate that

he would have longstanding partiality towards any particular side of a DWI case. While Judge

Pearson broke the law, he did not engage in activity remotely analogous to that taken by Judge

Griffen, such as publicly denouncing all DWI convictions as a stain on Arkansas or actively

participating in a rally pursuing the abolition of all DWI convictions.

       Although Defendants have emphasized these distinctions, see Goodson Motion at 31–33,

Judge Griffen does not respond to them. Instead, he recasts Defendants’ argument into the

strawman that “Defendants are contending that Judge Griffen’s complaint has not proven

discrimination, but this is not required at the initial pleading stage.” Response at 35. That is not

Defendants’ argument at all. Instead, Defendants argue that the complaint fails to identify similarly




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situated persons, that most of Judge Griffen’s allegedly similarly situated individuals were actually

treated worse than he, and that the complaint does not give rise to a plausible inference of

discriminatory intent. The Eighth Circuit has recognized that equal protection claims that fail to

allege disparate treatment of similarly situated individuals must be dismissed under Rule 12(b)(6).

For example, in Carter v. Arkansas, 392 F.3d 965 (8th Cir. 2004), the Court held that a plaintiff’s

equal protection claim must be dismissed for failure to state a claim because the plaintiffs’ alleged

comparators were not similarly situated to the plaintiff, and because even if they were similarly

situated, the state’s distinction between those groups was justified. Id. at 968–69.

V.     Judge Griffen Has Failed to State a Claim for Civil Conspiracy.

       Judge Griffen claims that he has stated a claim for civil conspiracy, but he does not dispute

that if his constitutional claims fail, his conspiracy claim does as well. Response at 44–46. Because

his constitutional claims lack merit, so too does his conspiracy claim. Finally, Defendants note that

the complaint alleges only a conspiracy “to deprive Judge Griffen of equal protection of the laws”

and not on the basis of his other constitutional claims. Compl. ¶ 132. Thus if the Court dismisses

the equal protection claim, it must also dismiss the conspiracy claim.

VI.    Judge Griffen Has Not Plausibly Alleged a Violation of the Arkansas RFRA.

       For substantially the same reasons discussed in connection with the retaliation claims,

Judge Griffen has failed to state a claim for a violation of the Arkansas Religious Freedom

Restoration Act. Judge Griffen argues that discovery is needed to determine whether the recusal

order is the least restrictive means to further a compelling governmental interest, Response at 26,

but he never suggests what discovery could possibly be warranted here. “The concept of public

confidence in judicial integrity does not easily reduce to precise definition, nor does it lend itself

to proof by documentary record. But no one denies that it is genuine and compelling.” Williams-




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Yulee, 135 S. Ct. at 1667. And this interest clearly is implicated by this case. The relevant facts

relating to Plaintiff’s conduct come straight out of his own complaint and are not in dispute. Judge

Griffen could not plausibly allege that his conduct did not create, at a minimum, an appearance of

bias. Not only are recusal rules perfectly constitutional, e.g., Carrigan, 564 U.S. at 124, but recusal

is often required by the Due Process Clause, e.g., Caperton, 556 U.S. at 881; Withrow v. Larkin,

421 U.S. 35, 47 (1975). And the Eighth Circuit, while invalidating a prohibition on judicial

candidates’ partisan activities, held that when there is an inference of bias, “recusal is the least

restrictive means of accomplishing the state’s interest in impartiality articulated as a lack of bias

for or against parties to the case.” Republican Party of Minnesota v. White, 416 F.3d 738, 755 (8th

Cir. 2005). The Arkansas RFRA does not liberate Judge Griffen from Arkansas’ recusal orders, at

least not under the undisputed facts of this case. Simply put, no further discovery is necessary for

this Court to conclude that Judge Griffen has not adequately pled a violation of the Arkansas

RFRA.

VII.    The Supreme Court of Arkansas Must Be Dismissed From This Case.

        To avoid dismissal of the Supreme Court of Arkansas as a defendant, Judge Griffen asserts

that the court is solely a defendant with respect to Count III, the alleged violation of the Arkansas

RFRA. Response at 38. This argument fails because the Supreme Court of Arkansas is entitled to

Eleventh Amendment immunity. “[T]he Eleventh Amendment prohibits federal courts from

hearing cases brought against states or their officers under state law . . . [unless] the relevant state

law contains a provision specifically authorizing suit against the state to proceed in federal court.”

Lynch v. Massachusetts State Senate, 495 F. Supp. 2d 175, 179 (D. Mass. 2007). See also Alsbrook

v. City of Maumelle, 184 F.3d 999, 1005 (8th Cir. 1999).




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        Here, nothing in the Arkansas RFRA authorizes suit in federal court by providing the

necessary “clear and unequivocal” waiver of Eleventh Amendment immunity. See Santee Sioux

Tribe of Nebraska v. Nebraska, 121 F.3d 427, 430 (8th Cir. 1997) (citation omitted). Further, “a

State does not waive Eleventh Amendment immunity in federal courts merely by waiving

sovereign immunity in its own courts.” Welch v. Texas Dep’t of Highways & Pub. Transp., 483

U.S. 468, 473–74 (1987). Judge Griffen offers no argument that the State or Supreme Court of

Arkansas has clearly and unequivocally waived its Eleventh Amendment immunity.

        Moreover, the legislature is without power to authorize suit in state court. The Arkansas

Constitution provides the State “shall never be made defendant in any of her courts.” ARK. CONST.

art. V, § 20. Under this provision, “a suit against the State is barred by the sovereign-immunity

doctrine if a judgment for the plaintiff will operate to control the action of the State or subject the

State to liability.” Arkansas State Med. Bd. v. Byers, 521 S.W.3d 459, 462 (Ark. 2017). Cf. Board

of Trs. Univ. Ark. v. Burcham, 2014 Ark. 61 (employee’s wrongful-termination complaint barred

by sovereign immunity and no sovereign-immunity exception applied). See also Board of Trs.

Univ. of Ark. v. Andrews, 2018 Ark. 12, 2018 WL 458031, at *5. 8

                                          CONCLUSION

        For the foregoing reasons, the Court should dismiss Judge Griffen’s complaint in its

entirety.




        8
          Finally, contrary to Judge Griffen’s argument, Response at 37 n.14, the Court must
dismiss Judge Griffen’s request for attorneys’ fees. Judge Griffen relies on Hutto v. Finney, 437
U.S. 678 (1978), for the proposition that Congress may authorize an award of attorneys’ fees under
Section 1983. But this is not responsive to Defendants’ argument that Congress has expressly
declined to authorize an award of attorneys’ fees where, as here, the action is brought against
judicial officers who did not act clearly in excess of their jurisdiction. 42 U.S.C. § 1988(b); see
Goodson Motion at 33 n.3.


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Dated: January 23, 2018                          Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on January 23, 2018, I electronically filed the foregoing document

with the Clerk of Court through the CM/ECF system for service this day via transmission of Notice

of Electronic Filing generated by ECF to all counsel of record.



                                                    /s/David H. Thompson
                                                    David H. Thompson




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